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                                        UNITED  STATES  DISTRICT  COURT  
                                             DISTRICT  OF  CONNECTICUT  
                                                            
PA  REALTY  GROUP,  LLC,  in                              :    Docket  No.  3:16-­cv-­630  (VLM)  
capacity  as  Successor  Agent  under   :                      CM/ECF  
those  certain  12%  Series  A  Senior                    :  
Secured  Convertible  Promissory                          :  
Notes,                                                    :  
                                                          :  
                    Plaintiff,                            :  
                                                          :  
v.                                                        :  
                                                          :  
H.  LEE  HORNBECK,  in  capacity  as                      :  
Agent,                                                    :  
                                                          :  
                    Defendant.                            :    May  16,  2016  
  
                                                            
                                    FIRST  AMENDED  COMPLAINT  AS  OF  RIGHT  
  
                    Plaintiff,  PA  Realty  Group,  LLC,  Successor  Agent  under  those  certain  12%  

Series  A  Senior  Secured  Convertible  Promissory  Notes  (“Plaintiff”),  by  and  

through  its  attorneys,  Gora  LLC,  as  and  for  its  First  Amended  Complaint  as  of  

Right,  against  H.  Lee  Hornbeck,  Agent  (“Defendant”),  alleges  as  follows:  

                                 NATURE  OF  THE  ACTION  
                                                   
        1.      This  action  seeks  a  declaration  that  Plaintiff  is  the  duly  appointed  

Successor  Agent  under  those  certain  12%  Series  A  Senior  Secured  Convertible  

Promissory  Notes  of  Stratex  Oil  and  Gas  Holdings,  Inc.  (“Stratex”),  and  that  the  

Defendant  was  properly  removed  as  Agent  under  those  certain  12%  Series  A  

Senior  Secured  Convertible  Promissory  Notes.  

                                           JURISDICTION  
  
        2.      This  Court  has  subject  matter  jurisdiction  over  this  action  pursuant  

to  28  U.S.C.  §  1332  because  there  is  diversity  of  citizenship  between  the  parties  
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and  the  amount  in  controversy  exceeds  the  sum  of  $75,000.00,  exclusive  of  

interest  and  costs.    

                                                 VENUE  
  
        3.         The  venue  of  this  matter  is  appropriate  in  this  district  under  28  U.S.C.  

§  1391(b)(2)  because  a  substantial  part  of  the  events  or  omissions  giving  rise  to  

the  claim  occurred  in  this  district  and  the  underlying  agreements  provide  for  

venue  in  this  district.    

                                                   PARTIES  
                                                            
        4.         Plaintiff  is  a  limited  liability  company  organized  and  existing  under  

the  laws  of  Connecticut.  The  member  of  the  plaintiff  is  a  citizen  of  the  state  of  

New  York.      

        5.         Defendant  is  an  individual  and  a  citizen  of  the  state  of  North  

Carolina.  

                                                 FACTS  

        6.         Stratex  (STTX:OTC  US)  is  a  publicly  traded  energy  company  focused  

on  the  acquisition  and  subsequent  organic  exploitation  and  development  of  

primarily  operated  crude  oil  properties.    

        7.         In  January  2014,  Stratex  engaged  in  a  private  placement  of  up  to  a  

maximum  of  $10,000,000  (the  “Offering”)  of  12%  Series  A  Senior  Secured  

Convertible  Promissory  Notes  in  the  principal  amount  of  $50,000.00  convertible  

into  shares  of  Stratex  common  stock,  par  value  $0.01,  at  a  conversion  price  of  

$0.30  per  share.    

        8.         In  the  Offering,  Stratex  raised  $9,987,650.    




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       9.      In  the  Offering,  Stratex  forwarded  a  private  placement  memorandum  

(the  “PPM”)  to  potential  investors,  and  received  from  each  of  the  Note  Holders  a  

signed  subscription  agreement  and  a  signed  security  agreement.    

       10.     In  exchange  for  the  Note  Holders’  signing  the  subscription  

agreement  and  the  security  agreement,  and  providing  capital  to  Stratex,  Stratex  

issued  a  Note  and  a  Warrant  to  each  of  the  Note  Holders.    

       11.     On  February  11,  2014,  the  Security  Agreement,  dated  February  11,  

2014  (the  “Security  Agreement”),  appointed  defendant  “to  act  as  [the  Note  

Holders’]  agent  for  purposes  of  exercising  any  and  all  rights  and  remedies  of  the  

[Note  Holders]  hereunder.”    

       12.     The  Security  Agreement  provides  further  that  defendant’s  

appointment  as  agent  “shall  continue  until  revoked  in  writing  by  a  Majority  in  

Interest,  at  which  time  a  Majority  in  Interest  shall  appoint  a  new  Agent.”    

       13.     A  “Majority  in  Interest”  is  defined  in  the  Security  Agreement  as  “the  

majority  in  interest  (based  on  then-­outstanding  principal  amounts  of  Notes  at  the  

time  of  such  determination)  of  the  [Note  Holders].”    

       14.     The  defendant  accepted  the  appointment  as  agent  of  the  Note  

Holders  under  the  Security  Agreement.    

       15.     The  Note  provides,  “Each  Series  Holder  agrees  that  it  will  not  have  

any  right  individually  to  enforce  or  seek  to  enforce  the  Series  Notes  or  Security  

Agreement  or  to  realize  upon  any  collateral  security  for  the  Series  Notes,  it  being  

understood  and  agreed  that  such  rights  and  remedies  may  be  exercised  only  by  

the  Agent  on  behalf  of  all  Series  Holders  pro  rata.”    




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        16.     On  or  about  February  20,  2014,  defendant  perfected  his  security  

interest  under  his  security  agreement  with  Stratex  over  “All  assets  of  [Stratex]  

now  owned  or  hereafter  acquired”  through  the  filing  of  a  UCC  Financing  

Statement  dated  February  20,  2014  (the  “Defendant’s  UCC”).      

        17.     Despite  his  appointment  as  agent  of  the  Note  Holders  in  February  

2014,  defendant  has  not  perfected  any  security  interest  of  the  Note  Holders  under  

the  Security  Agreement.    

        18.     Defendant  continues  to  hold  the  Defendant’s  UCC.    

        19.     Despite  purchasing  “secured”  notes  in  the  offering,  the  Note  Holders  

never  had  a  perfected  security  interest  in  any  Stratex  assets.    

        20.     The  Note  Holders  were  to  receive  secured  promissory  notes  in  the  

Offering.    

        21.     The  Note  Holders  do  not  have  a  perfected  security  interest  in  any  

Stratex  asset.    

        22.     Neither  the  defendant  nor  any  other  individual  filed  any  UCC  

Financing  Statement  for  the  Note  Holders.  

        23.     Nor  did  the  defendant  or  any  other  individual  record  any  mortgage  or  

lien  for  the  Note  Holders  on  any  Stratex  assets.  

        24.     Radnor  Research  &  Trading  Company  LLC,  now  known  as  Global  

Emerging  Capital  Group,  LLC  (“Radnor”),  was  the  exclusive  placement  agent  for  

the  Offering,  and  could  have  caused  the  filing  and  perfection  of  the  security  

interest  of  the  Note  Holders.  But  Radnor,  who  marketed  the  Notes  as  secured  




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notes  to  Note  Holders,  did  nothing  to  perfect  any  security  interest  for  the  Note  

Holders.  

        25.     After  closing  the  Offering,  Radnor  completed  a  subsequent  private  

placement  offering  for  Stratex:    12%  Series  B  Senior  Secured  Convertible  

Promissory  Notes  (the  “Series  B  Notes”).  The  security  interest  for  the  Series  B  

Notes  is  not  perfected,  either.    

        26.     Defendant  essentially  did  nothing  as  agent  of  the  Note  Holders.  

        27.     Defendant  could  not  have  cared  less  as  agent  of  the  Note  Holders.    

        28.     He  did  not  perfect  any  security  interest  of  the  Note  Holders,  all  the  

while  surreptitiously  holding  onto  the  Defendant’s  UCC.    

        29.     Defendant  did  not  tell  Stratex  about  the  Defendant’s  UCC.    

        30.     Defendant  did  not  tell  any  of  the  Note  Holders  about  the  Defendant’s  

UCC.    

        31.     Defendant’s  UCC  was  a  massive  secret  unexposed  until  April  2016.    

        32.     On  October  26,  2015,  defendant  forwarded  to  Stratex  a  Notice  of  

Event  of  Default,  Notice  of  Acceleration  of  Obligations  and  Notice  of  Demands  

(the  “Notice  of  Default”)  as  a  result  of  Stratex’s  failure  to  pay  installments  of  

interest  on  the  Notes.    

        33.     Three  weeks  later,  defendant  forwarded  a  letter,  dated  November  16,  

2015  (the  “November  Letter”),  to  the  Note  Holders.    

        34.     The  November  Letter  states  in  pertinent  part:  

                [Stratex]  has  defaulted  on  the  payment  of  the  interest  
                and  is  in  fault  to  the  Series  A  &  B  Noteholders,  hereafter  
                referred  to  as  "Noteholders".  The  agents,  Ernie  Orlando  
                and  I  have  begun  the  process  of  determining  what  the  



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    current  financial  position  of  Stratex  is  and  what  can  be  
    done  to  secure  or  position  as  secured  Noteholders.  Our  
    preliminary  information  indicates  that  Stratex  is  in  
    extremely  poor  financial  position  and  there  is  no  cash  
    and  very  few  assets  of  value  to  repay  this  note.  
      
                             *       *        *  

    The  company  has  an  alleged  $28  million  dollar  tax  loss  
    carryforward  that  could  be  of  some  value  and  the  
    current  producing  wells  might  be  a  source  of  funds  but  
    not  unless  we  step  in  and  protect  these  assets.  
    Currently  with  payable  at  what  has  been  told  to  me  by  
    Stratex  of  $2  million  and  other  required  costs  and  
    expenses  it  would  take  $2  to  $4  million  cash  to  clean  up  
    Stratex  and  market  the  tax  loss  carryforward  which  
    could  be  worth  $6  to  $7  million  dollars.  Stratex  has  told  
    me  that  the  current  well  assets  are  of  little  value  and  
    would  be  difficult  to  get  a  fair  price  in  the  current  
    distressed  market  however  they  are  worth  saving  and  
    getting  what  we  can.    
      
    We  have  sent  notice  of  default  and  demand  for  payment  
    as  required  by  the  note  to  Stratex  along  with  a  notice  of  
    the  sale  of  assets  if  we  the  agents  decide  this  is  the  best  
    approach  to  get  payments  to  the  Noteholders.  
      
    In  order  to  save  these  assets,  pay  existing  expenses,  
    legal  and  accounting  fees  and  determine  if  it  is  feasible  
    to  try  and  recover  a  net  $4  to  $5  million  in  the  tax  loss  
    carryforward  and  whatever  we  can  from  the  producing  
    wells  the  agents  are  levering  a  $500  per  $100,000  call  on  
    all  Noteholders.  These  funds  should  immediately  be  
    sent  by  wire  transfer  to  the  Washburn  Law  Firm  
    attorney's  trust  account  at  the  Banking  information  or  a  
    check  sent  to  the  address  provided.  
      
    We  are  continuing  to  determine  what  needs  to  be  done  
    to  best  protect  the  assets  and  recover  as  much  of  the  
    Noteholders  funds  as  possible.  Stratex  and  the  agents  
    are  pursuing  other  avenues  to  determine  if  additional  
    possibilities  exist  to  pay  back  the  Noteholders.  
      
    Please  forward  your  payment  to  the  below  Attorney's  
    Trust  Account.  
      



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       35.     Defendant  collected  approximately  fifty  thousand  dollars  from  the  

Note  Holders  under  the  capital  call  (the  “Capital  Call”)  in  the  November  Letter.  

The  Note  Holders  never  received  an  accounting  of  any  funds  raised  under  the  

November  Letter.  

       36.     Under  the  guise  of  determining  “what  needs  to  be  done  to  best  

protect  the  assets  and  recover  as  much  of  the  Noteholder  funds  as  possible,”  the  

defendant  authorized  his  best  friend  of  many  years  –  Jack  Munsey,  the  Chief  

Executive  Officer  of  Washburn  Law  PLLC  (“Washburn  Firm”)  –  to  obtain  a  certain  

Chevrolet  Tahoe  from  Stratex.    

       37.     While  Stratex  and  Washburn  Firm  entered  into  a  Bill  of  Sale  and  

Assignment  and  Assumption  Agreement  for  the  purchase  of  the  Chevrolet  Tahoe,  

Stephen  P.  Funk,  the  Chief  Executive  Officer  of  Stratex,  believed  that  Washburn  

Firm,  which  is  counsel  for  the  defendant,  was  securing  the  Chevrolet  Tahoe  on  

behalf  of  the  Note  Holders  –  not  for  Mr.  Munsey’s  personal  use.      

       38.     The  defendant  later  confessed  that  “Jack  Munsey  made  a  private  

arrangement  with  Steve  Fund  and  with  regard  to  a  car  owned  by  Stratex.  This  

deal  was  negotiated  by  Steve  Funk,  with  Jeff  Robinson  of  Startex  [sic]  .  .  .  I  did  

absolutely  nothing  contrary  to  your  interests  at  any  time.”    

       39.     In  that  regard,  counsel  from  the  Washburn  Firm  stated  further  on  that  

issue,  “As  far  as  the  Tahoe  is  concerned,  that  was  a  deal  done  outside  of  the  

scope  of  our  representation.  The  Tahoe  was  transferred  to  Jack  Munsey  as  an  

individual  by  Steve  Funk  in  exchange  for  assuming  the  debt  on  the  vehicle  which  




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was  no  longer  needed  as  a  company  vehicle  and  had  been  for  sale  for  quite  a  

while.”    

        40.       In  short,  defendant  authorized  his  long  time  friend  to  acquire  the  

motor  vehicle  in  blatant  disregard  of  any  security  interest  –  perfected  or  not  –

  held  by  Note  Holders.  

        41.       By  April  17,  2016,  a  Majority  in  Interest  of  the  Note  Holders  removed  

the  defendant,  and  appointed  the  plaintiff  as  agent  of  the  Note  Holders.    

        42.       The  Note  Holders  affirmatively  removing  the  defendant  as  agent,  and  

appointing  the  plaintiff  as  agent,  hold  $5,255,000  (52.6%)  of  the  $9,987,650  

outstanding  principal  balance  of  the  Notes.    

        43.       By  letter  dated  April  17,  2016,  and  after  gaining  a  Majority  in  Interest  

of  the  Note  Holders  to  remove  the  defendants,  plaintiff  provided  defendant  with  

notice  of  removal  and  a  demand  for  accounting  of  the  Capital  Call  (the  “Notice  of  

Removal”).    

        44.       The  next  day,  in  response  to  the  Notice  of  Removal,  defendant’s  

counsel  wrote  “If  the  Series  A  Note  Holders  wish  to  appoint  a  new  Agent  and  

remove  us  as  counsel,  we  will  certainly  consent”  and  requested  a  copy  of  the  

Removal  Votes.    

        45.       Plaintiff  responded  to  defendant’s  counsel  with  a  draft  Non-­

Disclosure  Agreement  (the  “NDA”).    

        46.       On  or  about  April  20,  2016,  Mr.  Munsey  communicated  to  Mr.  Funk  

that  defendant  intended  to  file  an  involuntary  bankruptcy  petition  against  Stratex.    




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        47.     On  April  21,  2016,  plaintiff  demanded  defendant  cease  and  desist  

“from  purporting  to  act  as  agent  of  the  Notes  due  to  his  removal  by  a  majority  in  

interest  of  the  holders  of  the  note”  and  commenced  this  action.    

        48.     After  receiving  the  cease  and  desist  demand  and  notice  of  this  

action,  defendant  wrote,  “As  my  attorney  stated  if  the  noteholders  wish  to  

appoint  a  new  agent  I  will  be  willing  to  step  down.”    

        49.     Less  than  one  day  later,  on  April  22,  2016,  the  defendant  resigned  as  

agent  of  the  Note  Holders.    

        50.     Despite  being  removed  by  the  Note  Holders  and  resigning  as  agent,  

defendant  intends  to  file  an  involuntary  bankruptcy  petition  against  Stratex  on  

behalf  of  Note  Holders.  

        51.     On  or  about  May  10,  2016,  Mr.  Munsey  informed  Mr.  Funk  that  

defendant  and  the  agent  for  the  Series  B  Note  (who  also  is  represented  by  

Washburn  Firm)  intend  to  file  imminently  an  involuntary  bankruptcy  petition  

against  Stratex.    

        52.     Filing  an  involuntary  bankruptcy  petition  would  eviscerate  the  Notes.    

        53.     Because  the  Notes  are  not  perfected,  the  Note  Holders  (unlike  the  

defendant)  would  be  unsecured  creditors  in  any  bankruptcy  proceeding.    

        54.     In  addition,  Stratex’s  primary  asset  is  an  approximate  $39,000,000  

Net  Operating  Loss  (“NOL”),  and  an  involuntary  bankruptcy  petition  would  put  at  

risk  the  NOL.    

        55.     The  plaintiff,  the  Note  Holders  and  Stratex  object  to  the  filing  of  any  

involuntary  bankruptcy  petition  against  Stratex.    




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                                            COUNT  ONE  
                                      (Declaratory  Judgment)  
                                                     
        56.      All  prior  allegations  are  incorporated  fully  herein.    

        57.      An  actual  case  and  controversy  of  a  justiciable  nature  exists  

between  Plaintiff  and  Defendant  involving  their  rights  and  obligations  of  those  

parties  under  documents  for  the  Offering,  and  the  controversy  may  be  

determined  in  this  action.  

        58.      All  other  identifiable  persons  or  entities  who  have  or  claim  any  

interest  in  the  matters  in  controversy  or  who  would  be  affected  by  the  

declarations  made  by  this  Court  have  been  made  a  party  to  this  action.  

        59.      By  affirmative  vote  of  the  Majority  in  Interest  of  the  Holders  of  the  

Notes,  the  appointment  of  the  Defendant  as  Agent  of  the  Notes  was  properly  

revoked  and  the  Plaintiff  was  appointed  as  Successor  Agent.    

        60.      Defendant  has  disputed  the  affirmative  vote  of  the  Majority  in  Interest  

of  the  Holders  of  the  Notes  and  the  appointment  of  the  Plaintiff  as  Successor  

Agent.    

        61.      Thus,  an  actual  dispute  and  controversy  exists  with  respect  to  the  

appointment  of  Plaintiff  as  Successor  Agent  by  virtue  of  Defendant’s  disputing  

the  affirmative  vote  of  the  Majority  in  Interest  of  the  Holders  of  the  Notes.    

        62.      Accordingly,  a  judicial  declaration  pursuant  to  28  U.S.C.  §  2201  et  

seq.  is  necessary  to  determine  the  rights  and  obligations  of  the  Plaintiff  and  the  

Defendant.  

                                  




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                                           COUNT  TWO  
                                      (Unjust  Enrichment)    
                                                    
        63.     All  prior  allegations  are  incorporated  fully  herein.  

        64.     The  defendant  benefited  from  the  receipt  of  money  from  the  Note  

Holders  and  for  which  the  defendant  did  not  provide  value.  

        65.     Defendant  unjustly  failed  to  repay  the  Note  Holders  for  the  benefit  he  

received  from  the  Note  Holders.    

        66.     The  enrichment  was  at  the  expense  of  the  Note  Holders.    

        67.     Equity  and  good  conscience  require  full  restitution  of  the  monies  

received  from  the  Note  Holders.    

        68.     Defendant’s  conscious,  intentional,  and  willful  tortious  conduct  also  

entitles  plaintiff  to  recapture  profits  derived  by  the  defendant  utilizing  monies  he  

received  from  the  Note  Holders.    

        69.     By  reason  of  the  above,  the  Plaintiff,  on  behalf  of  the  Note  Holders,  is  

entitled  to  an  award  in  an  amount  to  be  determined  at  trial.  

                                         COUNT  THREE  
                                           (Accounting)  
                                                    
        70.     All  prior  allegations  are  incorporated  fully  herein.  

        71.     The  assets  of  the  Note  Holders  are  in  the  possession  or  under  the  

control  of  the  defendant  and  have  been  wrongfully  diverted  for  purposes  other  

than  for  the  benefit  of  the  Note  Holders.    

        72.     Plaintiff  has  no  adequate  remedy  at  law.    

        73.     To  compensate  the  Note  Holders  for  the  amount  of  monies  the  

defendant  diverted  from  them,  it  is  necessary  for  the  defendant  to  provide  an  




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accounting  of  any  transfer  of  funds,  assets,  or  property  received  on  their  behalf,  

as  well  as  to  any  profits  in  the  past  and  on  a  going  forward  basis  in  connection  

with  Note  Holders.  All  relevant  information  thereto  is  within  defendant’s  

possession,  custody,  and  control.  

                                         COUNT  FOUR  
                                      (Constructive  Trust)  
         
       74.     All  prior  allegations  are  incorporated  fully  herein.  

       75.     The  plaintiff  is  entitled  to  the  imposition  of  a  constructive  trust.    

       WHEREFORE,  Plaintiff  PA  Realty  Group,  LLC,  as  Successor  Agent  under  

those  certain  12%  Series  A  Senior  Secured  Convertible  Promissory  Notes  hereby  

demands  judgment  enter  in  its  favor  and  against  Defendant  H.  Lee  Hornbeck,  as  

Agent  as  follows:  

       1.      A  declaration  that  H.  Lee  Hornbeck,  as  Agent,  was  properly  removed  

under  those  certain  12%  Series  A  Senior  Secured  Convertible  Promissory  Notes;;  

       2.      A  declaration  that  PA  Realty  Group,  LLC,  as  Successor  Agent,  was  

properly  appointed  under  those  certain  12%  Series  A  Senior  Secured  Convertible  

Promissory  Notes;;    

       3.      For  unjust  enrichment,  in  an  amount  to  be  determined  at  trial;;  

       4.      A  constructive  trust;;  

       5.      An  accounting;;  

       6.      Interest,  costs  and  disbursement  of  this  action;;  

       7.      Attorneys’  fees;;  and    

       8.      Such  other  and  further  relief  as  the  Court  deems  just  and  proper.    

                                 



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Dated:  May  16,  2016                             Respectfully  submitted,  
      Monroe,  Connecticut  
                                                     GORA  LLC  
                                         
                                         
                                                   By:  /s/  Richard  S.  Gora  
                                                     Richard  S.  Gora  (ct27479)  
                                                     Gora  LLC  
                                                     30  Quarter  Horse  Drive  
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                                                   Attorneys  for  Plaintiff    
  




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